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                                                                       UNITED STATES DISTRICT COURT
                                          12
                                                                     CENTRAL DISTRICT OF CALIFORNIA
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                                          13
                       ATTORNEYS AT LAW




                                                                                WESTERN DIVISION
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                                               ALS SCAN, INC.,                              Case No.: 2:16-cv-05051-GW-AFM
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                                                                Plaintiff,                  DEFENDANT CLOUDFLARE
                                          17                                                INC.’S PROPOSED SPECIAL
                                                     v.                                     VERDICT FORM
                                          18
                                               CLOUDFLARE, INC., et al.,                    Judge:     Hon. George H. Wu
                                          19                                                Trial Date: April 24, 2018
                                                                Defendants.
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                                               CLOUDFLARE’S PROPOSED SPECIAL VERDICT FORM              CASE NO. 2:16-CV-05051-GW-AFM
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         In answering these questions, you are to follow all of the instructions the
   Court previously gave you. “Plaintiff” means ALS Scan. “Defendant” means
   Cloudflare. You must reach a unanimous decision for each of the following
   questions until the instructions indicate that you don’t need to answer any more
   questions.


                Plaintiff’s Claim for Contributory Copyright Infringement


   Question No. 1
   Did Plaintiff prove by a preponderance of the evidence that it owns and registered
   the copyrights in the works that it asserted?
   ______ Yes _____No
   If you answered “no” you don’t need to answer the remaining questions.
   Otherwise, go to the next question.


   Question No. 2
   Did Plaintiff prove by a preponderance of the evidence that others infringed,
   through one or more of the 17 specific accused websites, copyrights that Plaintiff
   owns and has registered?
   ______ Yes       _____ No
   If you answered “no” you don’t need to answer the remaining questions.
   Otherwise, go to the next question.


   Question No. 3
   Did Plaintiff prove by a preponderance of the evidence that the caching
   (intermediate and transient or intermediate and temporary storage) and/or




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   transmission of images that occurred on Defendant’s service from one or more of
   the 17 specific accused websites was not fair use?
   ______ Yes     _____ No
   If you answered “no” you don’t need to answer the remaining questions.
   Otherwise, go to the next question.


   Question No. 4
   Did Plaintiff prove by a preponderance of the evidence that Defendant induced,
   caused, or materially contributed to third party infringements of Plaintiff’s
   copyrights through one of the 17 specific accused websites?1
   ______ Yes     _____ No
   If you answered no, you don’t need to answer the remaining questions. Otherwise,
   go to the next question.


   Question No. 5
   Did Plaintiff prove by a preponderance of the evidence that Defendant had actual
   knowledge of specific infringements of Plaintiff’s works by third parties through
   one of the 17 specific accused websites?
   ______ Yes     _____ No
   If you answered “no” you don’t need to answer the remaining questions.
   Otherwise, go to the next question.




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     Cloudflare omits a question on an inducement theory in reliance on Plaintiff’s
   statements that it is not pursuing an inducement theory. It also omits a verdict
   question on whether Cloudflare’s technology and services are capable of
   substantial noninfringing uses in reliance on Plaintiff’s statements that it is not
   making any such claim or assertion.

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   Question No. 6
   Did Plaintiff prove by a preponderance of the evidence that Defendant failed to
   take simple measures that were available to it to prevent further damage to
   Plaintiff’s copyrighted works through one of the 17 specific accused websites?
   ______ Yes     _____ No
   If you answered no, you don’t need to answer the remaining questions. Otherwise,
   go to the next question.


                                      Unclean Hands


   Question No. 7
   Did Defendant prove by a preponderance of the evidence that Plaintiff has
   “unclean hands” by engaging in copyright misuse?
   ______ Yes     _____ No
   Go to the next question.


                              Defendant’s Safe Harbor Defenses


   Question No. 8
   Did Defendant prove by a preponderance of the evidence that it qualifies for the
   limitations on remedies for service providers for transmitting, routing, or providing
   connections for, material through a system or network controlled or operated by or
   for the service provider, or for intermediate and transient storage of that material in
   the course of such transmitting, routing, or providing connections?
   ______ Yes     _____ No
   Go to the next question.




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   Question No. 9
   Did Defendant prove by a preponderance of the evidence that it qualifies for the
   limitations on remedies for service providers that engage in “system caching”?
   ______ Yes     _____ No
   If your answer to either question 8 or question 9 is yes, you don’t need to answer
   the remaining questions. Otherwise, go to the next question.


                                        Damages


   Question No. 10
   If you found that Defendant did contributorily infringe Plaintiff’s copyrights, did
   Plaintiff prove by a preponderance of the evidence that Defendant was a willful
   infringer?
   ______ Yes     _____ No
   If you answered yes, skip to question 16. Otherwise, go to the next question.


   Question No. 11
   If you found that Defendant did contributorily infringe Plaintiff’s copyrights, did
   Defendant prove by preponderance of the evidence that it was an innocent
   infringer?
   ______ Yes     _____ No
   Go to the next question.


   Question No. 12
   What amount of statutory damages do you find appropriate?
   $_______________
   Go to the next question.


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   Question No. 13
   Did Defendant prove by a preponderance of the evidence that Plaintiff or its agent
   failed to take reasonable steps to mitigate Plaintiff’s claimed damages?
   ______ Yes     _____ No
   If you answer yes, go to the next question. If you answer no, you don’t need to
   answer further questions.


   Question No. 14
   What reduction from the amount of statutory damages in your response to question
   no. 16 do you find appropriate in light of Plaintiff’s failure to mitigate its damages?
   $_______________




   Upon completing all questions that require an answer, the foreperson should sign
   and date the form below and give it to the marshal.

    Dated:
                                                 Foreperson




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